   Case 6:13-cr-06006-EAW-JWF           Document 125       Filed 09/10/13     Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA,

                                    Plaintiff
                                                         DECISION and ORDER
-vs-
                                                         13-CR-6006

KENYA BROWN,

                            Defendant
__________________________________________

       Siragusa, J. This case was referred by text order of the undersigned, entered on

January 8, 2013, to Magistrate Judge Jonathan W. Feldman pursuant to 28 U.S.C. §

636(b)(1)(A)-(B), ECF No. 70. On March 16, 2013, Defendant filed an omnibus motion, ECF

No. 85, seeking inter alia suppressions of post-arrest statements allegedly made to law

enforcement. Subsequently, on May 26, 2012, Defendant filed a motion, ECF No. 103,

seeking suppression of evidence seized as a result of the surreptitious installation of a GPS

tracker on a vehicle he was driving. Then on June 1, 2013, Defendant filed a motion seeking

dismissal of the indictment for alleged violations of the Speedy Trial Act. On July 10, 2013,

Magistrate Judge Feldman filed a Report and Recommendation (“R & R”), ECF No. 166,

recommending that the Court deny Defendant’s applications to dismiss the indictment and to

suppress evidence. Additionally, by his R & R, Judge Feldman confirmed his earlier oral

R & R of June 25, 2013, ECF No. 111, in which he determined the statements at issue were

lawfully obtained and he which he recommended that their suppression be denied and that

they be admissible at trial. The time has passed for Defendant to file any objections to the R

& R, and none have been filed.
   Case 6:13-cr-06006-EAW-JWF           Document 125       Filed 09/10/13     Page 2 of 2




       Accordingly, for the reasons set forth in Magistrate Judge Feldman’s R & R of July 10,

2013, Defendant’s application to dismiss the indictment for alleged violations of the Speedy

Trial Act is denied, and his application to suppress evidence seized as a result of the

surreptitious installation of a GPS tracker on a vehicle Defendant was driving is also denied.

Moreover, for the reasons set forth in Magistrate Judge Feldman’s oral R & R of June 25,

2013 and confirmed by his R & R of July 10, 2013, Defendant’s application to suppress

statements is denied.

       IT IS SO ORDERED.

Dated: Rochester, New York
       September 9, 2013

                            ENTER:
                                           /s/ Charles J. Siragusa
                                           CHARLES J. SIRAGUSA
                                           United States District Judge
